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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

ReSea Project ApS                                         §
                                                          §
        Plaintiff                                         §
                                                          §
v.                                                        §      CIVIL ACTION NO. 5:21-cv-01132
Restoring Integrity to the Oceans, Inc. and               §
Kieran Kelly                                              §
        Defendant                                         §

                              CONFIDENTIALITY AND PROTECTIVE ORDER

         Before the court is the joint motion of the parties for the entry of a confidentiality and
  protective order (“Protective Order”). After careful consideration, it is hereby ORDERED as

  follows:

         1.         Classified Information

         “Classified Information” means any information of any type, kind, or character that is

  designated as “Confidential”, “For Counsel Only”, or “Attorneys Eyes Only” by any of the
  supplying or receiving persons, whether it be a document, information contained in a document,

  information revealed during a deposition, information revealed in an interrogatory answer, or

  otherwise.

         2.         Qualified Persons

         “Qualified Persons” means:

         a.         For Counsel or Attorneys Only information:
                    i.     retained counsel for the parties in this litigation and their respective staff;

                    ii.    actual or potential independent experts or consultants (and their
                           administrative or clerical staff) engaged in connection with this litigation
                           (which shall not include the current employees, officers, members, or
                           agents of parties or affiliates of parties) who, prior to any disclosure of
                           Classified Information to such person, have signed a document agreeing to
                           be bound by the terms of this Protective Order (such signed document to
                           be maintained by the attorney retaining such person) and have been

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                      designated in writing by notice to all counsel;

               iii.   this court and its staff and any other tribunal or dispute resolution officer
                      duly appointed or assigned in connection with this litigation.

        b.     For Confidential information:
               i.     the persons identified in subparagraph 2(a);

               ii.    the party, if a natural person;

               iii.   if the party is an entity, such officers or employees of the party who are
                       actively involved in the prosecution or defense of this case who, prior to
                       any disclosure of Confidential information to such person, have been
                       designated in writing by notice to all counsel and have signed a document
                       agreeing to be bound by the terms of this Protective Order (such signed
                       document to be maintained by the attorney designating such person);

               iv.    litigation vendors, court reporters, and other litigation support personnel;

               v.     any person who was an author, addressee, or intended or authorized
                      recipient of the Confidential information and who agrees to keep the
                      information confidential, provided that such persons may see and use the
                      Confidential information but not retain a copy.
        c.     Such other person as this court may designate after notice and an opportunity to

be heard.
        3.     Designation Criteria

        a.     Nonclassified Information. Classified Information shall not include information

that either:
               i.     is in the public domain at the time of disclosure, as evidenced by a written
                      document;

               ii.    becomes part of the public domain through no fault of the recipient, as
                      evidenced by a written document;

               iii.   the receiving party can show by written document was in its rightful and
                      lawful possession at the time of disclosure; or

               iv.    lawfully comes into the recipient’s possession subsequent to the time of
                      disclosure from another source without restriction as to disclosure,
                      provided such third party has the right to make the disclosure to the
                      receiving party.

        b.     Classified Information. A party shall designate as Classified Information only

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such information that the party in good faith believes in fact is confidential. Information that is
generally available to the public, such as public filings, catalogues, advertising materials, and the
like, shall not be designated as Classified.

          Information and documents that may be designated as Classified Information include, but
are not limited to, trade secrets, confidential or proprietary financial information, operational
data, business plans, and competitive analyses, personnel files, personal information that is
protected by law, and other sensitive information that, if not restricted as set forth in this order,
may subject the producing or disclosing person to competitive or financial injury or potential
legal liability to third parties.

          Correspondence and other communications between the parties or with nonparties may
be designated as Classified Information if the communication was made with the understanding
or reasonable expectation that the information would not become generally available to the
public.

          c.       For Counsel or Attorneys Only.           The designation “For Counsel Only” or
“Attorneys Eyes Only” shall be reserved for information that is believed to be unknown to the
opposing party or parties, or any of the employees of a corporate party. For purposes of this
order, so-designated information includes, but is not limited to, product formula information,
design information, non-public financial information, pricing information, customer identification
data, and certain study methodologies.

          d.     Ultrasensitive Information. At this point, the parties do not anticipate the need for
higher levels of confidentiality as to ultrasensitive documents or information. However, in the
event that a court orders that ultrasensitive documents or information be produced, the parties
will negotiate and ask the court to enter an ultrasensitive information protocol in advance of
production to further protect such information.

          4.     Use of Classified Information

          All Classified Information provided by any party or nonparty in the course of this


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litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation

and for no other purpose, and shall not be disclosed except in accordance with the terms hereof.
         5.       Marking of Documents

         Documents provided in this litigation may be designated by the producing person or by
any party as Classified Information by marking each page of the documents so designated with a
stamp indicating that the information is “Confidential”, “For Counsel Only”, or “Attorneys Eyes
Only”.        In lieu of marking the original of a document, if the original is not provided, the
designating party may mark the copies that are provided.           Originals shall be preserved for
inspection.
         6.       Disclosure at Depositions

         Information disclosed at (a) the deposition of a party or one of its present or former
officers, directors, employees, agents, c onsultants, representatives, or independent experts
retained by counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be
designated by any party as Classified Information by indicating on the record at the deposition
that the testimony is “Confidential” or “For Counsel Only” and is subject to the provisions of this
Order.

         Any party also may designate information disclosed at a deposition as Classified
Information by notifying all parties in writing not later than 30 days of receipt of the transcript of
the specific pages and lines of the transcript that should be treated as Classified Information
thereafter. Each party shall attach a copy of each such written notice to the face of the transcript
and each copy thereof in that party’s possession, custody, or control. All deposition transcripts
shall be treated as For Counsel Only for a period of 30 days after initial receipt of the transcript.

         To the extent possible, the court reporter shall segregate into separate transcripts
information designated as Classified Information with blank, consecutively numbered pages
being provided in a nondesignated main transcript. The separate transcript containing Classified
Information shall have page numbers that correspond to the blank pages in the main transcript.

         Counsel for a party or a nonparty witness shall have the right to exclude from depositions
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any person who is not authorized to receive Classified Information pursuant to this Protective
Order, but such right of exclusion shall be applicable only during periods of examination or
testimony during which Classified Information is being used or discussed.
        7.      Disclosure to Qualified Persons

        a.       To Whom. Classified Information shall not be disclosed or made available by the
receiving party to persons other than Qualified Persons except as necessary to comply with

applicable law or the valid order of a court of competent jurisdiction; provided, however, that in
the event of a disclosure compelled by law or court order, the receiving party will so notify the

producing party as promptly as practicable (if at all possible, prior to making such disclosure)

and shall seek a protective order or confidential treatment of such information.      Information
designated as For Counsel Only shall be restricted in circulation to Qualified Persons described

in subparagraph 2(a).

        b.          Retention of Copies During this Litigation.     Copies of For Counsel Only

information shall be maintained only in the offices of outside counsel for the receiving party and,
to the extent supplied to experts described in subparagraph 2(a)(ii), in the offices of those

experts. Any documents produced in this litigation, regardless of classification, that are provided
to Qualified Persons shall be maintained only at the office of such Qualified Person and only

necessary working copies of any such documents shall be made.          Copies of documents and

exhibits containing Classified Information may be prepared by independent copy services,
printers, or illustrators for the purpose of this litigation.

        c.     Each party’s outside counsel shall maintain a log of all copies of For Counsel Only
documents that are delivered to Qualified Persons.

        8.      Unintentional Disclosures

        Documents unintentionally produced without designation as Classified Information later
may be designated and shall be treated as Classified Information from the date written notice of

the designation is provided to the receiving party.

        If a receiving party learns of any unauthorized disclosure of Confidential information or

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For Counsel Only information, the party shall immediately upon learning of such disclosure
inform the producing party of all pertinent facts relating to such disclosure and shall make all
reasonable efforts to prevent disclosure by each unauthorized person who received such
information.
       9.      Documents Produced for Inspection Prior to Designation

       In the event documents are produced for inspection prior to designation, the documents

shall be treated as For Counsel Only during inspection. At the time of copying for the receiving
parties, Classified Information shall be marked prominently “Confidential”, “For Counsel Only”,

or “Attorneys Eyes Only” by the producing party.
       10.     Consent to Disclosure and Use in Examination

       Nothing in this order shall prevent disclosure beyond the terms of this order if each party

designating the information as Classified Information consents to such disclosure or if the court,
after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything in

this order prevent any counsel of record from utilizing Classified Information in the examination

or cross-examination of any person who is indicated on the document as being an author, source,
or recipient of the Classified Information, irrespective of which party produced such information.
       11.     Challenging the Designation

       a.      Classified Information. A party shall not be obligated to challenge the propriety

of a designation of Classified Information at the time such designation is made, and a failure to

do so shall not preclude a subsequent challenge to the designation. In the event that any party to
this litigation disagrees at any stage of these proceedings with the designation of any information

as Classified Information, the parties shall first try to resolve the dispute in good faith on an

informal basis, such as by production of redacted copies. If the dispute cannot be resolved, the
objecting party may invoke this Protective Order by objecting in writing to the party who

designated the document or information as Classified Information. The designating party shall

then have 14 days to move the court for an order preserving the designated status of the disputed
information. The disputed information shall remain Classified Information unless and until the


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court orders otherwise. Failure to move for an order shall constitute a termination of the status of
such item as Classified Information.

       b.      Qualified Persons. In the event that any party in good faith disagrees with the
designation of a person as a Qualified Person or the disclosure of particular Classified
Information to such person, the parties shall first try to resolve the dispute in good faith on an
informal basis. If the dispute cannot be resolved, the objecting party shall have 14 days from the
date of the designation or, in the event particular Classified Information is requested subsequent
to the designation of the Qualified Person, 14 days from service of the request to move the court
for an order denying the disposed person (a) status as a Qualified Person, or (b) access to
particular Classified Information. The objecting person shall have the burden of demonstrating
that disclosure to the disputed person would expose the objecting party to the risk of serious
harm. Upon the timely filing of such a motion, no disclosure of Classified Information shall be
made to the disputed person unless and until the court enters an order preserving the designation.
       12.     Manner of Use in Proceedings

       In the event a party wishes to use any Classified Information in affidavits, declarations,
briefs, memoranda of law, or other papers filed in this litigation, the party shall do one of the
following: (1) with the consent of the producing party, file only a redacted copy of the
information; (2) where appropriate (e.g., in connection with discovery and evidentiary motions)
provide the information solely for in camera review; or (3) file such information under seal with
the court consistent with the sealing requirements of the court.

       13.     Filing Under Seal

       The clerk of this court is directed to maintain under seal all documents, transcripts of
deposition testimony, answers to interrogatories, admissions, and other papers filed under seal in
this litigation that have been designated, in whole or in part, as Classified Information by any
party to this litigation consistent with the sealing requirements of the court. This provision does not
dispense with the requirements of W.D. Civ. R 5.2 or the distinction between the legal standard for
entry of a protective order and sealing documents as set out in June Medical Services, L.L.C. v.
Phillips, ___ F.4th ___, ___, No. 21-30001, 2022 WL 72074, at *5-7 (5th Cir. Jan. 7, 2022).

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       14. Return of Documents

       Not later than 120 days after conclusion of this litigation and any appeal related
to it, any Classified Information, all reproductions of such information, and any notes,
summaries, or descriptions of such information in the possession of any of the persons
specified in paragraph 2 (except subparagraph 2(a)(iii)) shall be returned to the producing
party or destroyed, except as this court may otherwise order or to the extent such information
has been used as evidence at any trial or hearing. Notwithstanding this obligation to return or
destroy information, counsel may retain attorney work product, including document indices, so
long as that work product does not duplicate verbatim substantial portions of the text of any
Classified Information.
       15.     Ongoing Obligations

       Insofar as the provisions of this Protective Order, or any other protective orders

entered in this litigation, restrict the communication and use of the information protected by

it, such provisions shall continue to be binding after the conclusion of this litigation, except that

(a) there shall be no restriction on documents that are used as exhibits in open court unless

such exhibits were filed under seal, and (b) a party may seek the written permission of the

producing party or order of the court with respect to dissolution or modification of this, or

any other, protective order.
       16.     Advice to Clients

       This order shall not bar any attorney in the course of rendering advice to such
attorney’s client with respect to this litigation from conveying to any party client the attorney’s
evaluation in a general way of Classified Information produced or exchanged under the terms of
this order; provided, however, that in rendering such advice and otherwise communicating
with the client, the attorney shall not disclose the specific contents of any Classified
Information produced by another party if such disclosure would be contrary to the terms of this
Protective Order.

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       17.     Duty to Ensure Compliance

       Any party designating any person as a Qualified Person shall have the duty to
reasonably ensure that such person observes the terms of this Protective Order and shall be

responsible upon breach of such duty for the failure of such person to observe the terms of

this Protective Order.
       18.     Waiver

       Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor work
product protection is waived by disclosure connected with this litigation.
       19.     Modification and Exceptions

       The parties may, by stipulation, provide for exceptions to this order and any party may
seek an order of this court modifying this Protective Order.
               It is SO ORDERED this      4th      day of      February 2022    .




                                                UNITED STATES DISTRICT JUDGE




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